           Case 1:19-cv-01299-JKB Document 24 Filed 05/08/20 Page 1 of 1
                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


 SHAWNAY RAY AND
 KANTICE JOYNER, on their own
 behalf and on behalf of all others
 similarly situated,

                        Plaintiffs,
                                                                Case No. 1:19-cv-01299-JKB
                v.
                                                                Judge: James K. Bredar
 T-MOBILE US, INC.

                        Defendant.



                        NOTICE OF DISMISSAL WITH PREJUDICE

       Plaintiffs Shawnay Ray and Kantice Joyner file this Notice of Dismissal with Prejudice

pursuant to Fed. R. Civ. P. 41(a)(1) in the above captioned matter. As of the date of this Notice,

Defendant, T-Mobile US, Inc., has not served an answer or filed a motion for summary judgment.

The dismissal of this matter shall be entered with prejudice.

                                                Respectfully submitted,


Dated: May 8, 2020                                         /s/ 28191
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